    Case 1:20-cv-00128-CRK Document 28                Filed 07/30/21     Page 1 of 25



UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: THE HONORABLE CLAIRE R. KELLY, JUDGE
__________________________________________
AIREKO CONSTRUCTION LLC,                   :
                                           :
                                           :
                        Plaintiff,         : Court No. 20-00128
                                           :
                  v.                       :
                                           :
UNITED STATES,                             :
                                           :
                        Defendant.         :
__________________________________________ :

                                         ORDER

        Upon reading plaintiff’s motion for summary judgment, defendant’s cross-motion

for partial summary judgment, and the parties’ respective responses thereto; and upon

consideration of other papers and proceedings had herein; it is hereby

        ORDERED that plaintiff’s motion for summary judgment be, and hereby is,

denied in part with respect to the assessment of antidumping duties; and it is further

        ORDERED that defendant’s cross-motion for partial summary judgment be, and

hereby is, granted; and it is further

        ORDERED that U.S. Customs and Border Protection shall reliquidate the entries

at issue at an antidumping duty rate of 42.33% and a countervailing duty rate of 0.00%;

and it is further

        ORDERED that this action be, and hereby is, dismissed.



                                                           JUDGE

 Dated: New York, NY
        This   day of _______, 2021
        Case 1:20-cv-00128-CRK Document 28               Filed 07/30/21      Page 2 of 25



UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: THE HONORABLE CLAIRE R. KELLY, JUDGE
__________________________________________
AIREKO CONSTRUCTION LLC,                   :
                                           :
                                           :
                        Plaintiff,         : Court No. 20-00128
                                           :
                  v.                       :
                                           :
UNITED STATES,                             :
                                           :
                        Defendant.         :
__________________________________________ :

      DEFENDANT’S CROSS-MOTION FOR PARTIAL SUMMARY JUDGMENT

       Pursuant to Rule 56 of the Rules of the United States Court of International Trade,

defendant, the United States, respectfully moves this Court for an Order: (1) denying plaintiff’s

motion for summary judgment relating to the assessment of antidumping duties; (2) granting our

cross-motion for partial summary judgment finding that the merchandise at issue was properly

assessed antidumping duties; (3) instructing U.S. Customs and Border Protection to reliquidate

the entries at issue at an antidumping duty rate of 42.33% and a countervailing duty rate of

0.00%; and (4) dismissing this action in its entirety.

       The bases for defendant’s cross-motion for partial summary judgment are set forth in the

attached memorandum.
        Case 1:20-cv-00128-CRK Document 28                Filed 07/30/21     Page 3 of 25



       WHEREFORE, defendant respectfully requests that an Order be entered denying

plaintiff’s motion for summary judgment, in part, granting defendant’s cross-motion for partial

summary judgment, and dismissing the action in its entirety, and granting such other and further

relief as may be just and appropriate.



                                               Respectfully submitted,


                                               BRIAN M. BOYNTON
                                               Acting Assistant Attorney General

                                               JEANNE E. DAVIDSON
                                               Director

                                               JUSTIN R. MILLER
                                               Attorney-In-Charge
                                               International Trade Field Office

                                         By:   /s/ Aimee Lee
                                               AIMEE LEE
                                               Assistant Director

Of Counsel:                                    /s/ Hardeep K. Josan
Paula Smith                                    HARDEEP K. JOSAN
Office of Assistant Chief Counsel              Trial Attorney
International Trade Litigation                 International Trade Field Office
U.S. Customs and Border Protection             Department of Justice, Civil Division
                                               Commercial Litigation Branch
                                               26 Federal Plaza, Room 346
                                               New York, New York 10278
                                               (212) 264-9245 or 9230

July 30, 2021                                  Attorneys for Defendant




                                                  2
        Case 1:20-cv-00128-CRK Document 28                Filed 07/30/21     Page 4 of 25



UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: THE HONORABLE CLAIRE R. KELLY, JUDGE
__________________________________________
AIREKO CONSTRUCTION LLC,                   :
                                           :
                                           :
                        Plaintiff,         : Court No. 20-00128
                                           :
                  v.                       :
                                           :
UNITED STATES,                             :
                                           :
                        Defendant.         :
__________________________________________ :

        DEFENDANT’S STATEMENT OF UNDISPUTED MATERIAL FACTS
   IN SUPPORT OF ITS CROSS-MOTION FOR PARTIAL SUMMARY JUDGMENT

       Rule 56.3, Rules of the United States Court of International Trade, requires that motions

for summary judgment include a separate statement of undisputed material facts as to which it is

contended that there exists no genuine issue to be tried. In this case, with respect to Defendant’s

Cross-Motion for Partial Summary Judgment only, there are no disputed material facts as to

which there exists a genuine issue to be tried and the issues are amenable to resolution through

dispositive motions. The pertinent undisputed facts of this case are as follows:

       1.      In January 2014, Commerce published the notice of initiation of antidumping and

countervailing duty investigations on certain crystalline silicon photovoltaic (CSPV) products

from the People’s Republic of China (PRC). Certain Crystalline Silicon Photovoltaic Products

From the People’s Republic of China and Taiwan: Initiation of Antidumping Duty

Investigations, 79 Fed. Reg. 4661 (January 29, 2014); Certain Crystalline Silicon Photovoltaic

Products From the People’s Republic of China and Taiwan: Initiation of Countervailing Duty

Investigations, 79 Fed. Reg. 4667 (January 29, 2014).
        Case 1:20-cv-00128-CRK Document 28              Filed 07/30/21     Page 5 of 25



       2.      In June 2014 and July 2014, respectively, Commerce published the preliminary

determinations of the countervailing and antidumping duty investigations on certain CSPV from

the PRC. Certain Crystalline Silicon Photovoltaic Products From the People’s Republic of

China: Preliminary Affirmative Countervailing Duty, 79 Fed. Reg. 33,174 (June 10, 2014);

Certain Crystalline Silicon Photovoltaic Products From the People’s Republic of China:

Affirmative Preliminary Determination of Sales at Less Than Fair Value and Postponement of

Final Determination, 79 Fed. Reg. 44,399 (July 31, 2014).

       3.      In accordance with the preliminary determinations, Commerce instructed CBP to

suspend liquidation of all entries of certain CSPV from the PRC, and to require a cash deposit for

such entries. Message No. 4163305 (June 12, 2014); Message Nos. 4220303 (August 8, 2014),

4307307 (November 3, 2014), Ex. A.

       4.      In December 2014, Aireko imported CSPV from the PRC, exported by Wanxiang

Import & Export Co. Ltd. and produced by Zhejiang Wanxiang Solar Co. Ltd., through the Port

of San Juan, Puerto Rico. See Compl. ¶ 2; Ans. ¶ 2; Dkt. Nos. 11, 16

       5.      For the entries at issue, Aireko selected entry dates of December 19, 2014 and

December 22, 2014 on its CBP Form 3461. Compl. ¶¶ 20-22; Ans. ¶¶ 20-22.

       6.      On December 23, 2014, Commerce published the final determinations of the

antidumping and countervailing duty investigations. Certain Crystalline Silicon Photovoltaic

Products From the People’s Republic of China: Final Determination of Sales at Less Than Fair

Value, 79 Fed. Reg. 76,970 (December 23, 2014); Countervailing Duty Investigation of Certain

Crystalline Silicon Photovoltaic Products From the People’s Republic of China: Final

Affirmative Countervailing Duty Determination, 79 Fed. Reg. 76,962 (December 23, 2014).




                                                2
        Case 1:20-cv-00128-CRK Document 28              Filed 07/30/21     Page 6 of 25



       7.      In February 2015, Commerce published the antidumping and countervailing duty

orders on certain CSPV from the PRC. See 80 Fed. Reg. 8592 (February 18, 2015).

       8.      On May 2, 2016 and May 13, 2016, respectively, Commerce issued antidumping

and countervailing duty liquidation instructions to CBP covering the entries at issue. See

Message Nos. 6123301 (May 2, 2016), 6134013 (May 13, 2016), Ex. B.

       9.      Regarding the antidumping duty order, Commerce instructed CBP, in relevant

part, to liquidate entries of certain CSPV from the PRC for the period of July 31, 2014 through

January 25, 2015 at the cash deposit rate in effect on the date of entry, which was 42.33%. See

Message Nos. 4307307, 6123301, Exs. A, B.

       10.     Regarding the countervailing duty order, Commerce instructed CBP, in relevant

part, to liquidate entries of CSPV from the PRC for the period October 18, 2014 through

February 9, 2015 without regard to countervailing duties. See Message No. 6134304, Ex. B.

       11.     On September 2, 2016, CBP liquidated the entries at issue at an antidumping duty

rate of 52.13% and a countervailing duty rate of 26.89%. Dkt. Nos. 11, 16.

       12.     Aireko protested the assessment of antidumping and countervailing duties. Dkt.

Nos. 11, 16.

       13.     CBP denied Aireko’s protest on June 11, 2020. Dkt. Nos. 11, 16.




                                                3
        Case 1:20-cv-00128-CRK Document 28            Filed 07/30/21     Page 7 of 25



                                           Respectfully submitted,

                                           BRIAN M. BOYNTON
                                           Acting Assistant Attorney General

                                           JEANNE E. DAVIDSON
                                           Director

                                           JUSTIN R. MILLER
                                           Attorney-In-Charge
                                           International Trade Field Office

                                     By:   /s/ Aimee Lee
                                           AIMEE LEE
                                           Assistant Director

Of Counsel:                                /s/ Hardeep K. Josan
Paula Smith                                HARDEEP K. JOSAN
Office of Assistant Chief Counsel          Trial Attorney
International Trade Litigation             International Trade Field Office
U.S. Customs and Border Protection         Department of Justice, Civil Division
                                           Commercial Litigation Branch
                                           26 Federal Plaza, Room 346
                                           New York, New York 10278
                                           (212) 264-9245 or 9230

July 30, 2021                              Attorneys for Defendant




                                              4
      Case 1:20-cv-00128-CRK Document 28    Filed 07/30/21     Page 8 of 25



UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: THE HONORABLE CLAIRE R. KELLY, JUDGE
__________________________________________
AIREKO CONSTRUCTION LLC,                   :
                                           :
                                           :
                        Plaintiff,         : Court No. 20-00128
                                           :
                  v.                       :
                                           :
UNITED STATES,                             :
                                           :
                        Defendant.         :
__________________________________________ :



  DEFENDANT’S MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFF’S
  MOTION FOR SUMMARY JUDGMENT AND IN SUPPORT OF DEFENDANT’S
         CROSS-MOTION FOR PARTIAL SUMMARY JUDGMENT




                                 Respectfully submitted,


                                 BRIAN M. BOYNTON
                                 Acting Assistant Attorney General

                                 JEANNE E. DAVIDSON
                                 Director

                                 JUSTIN R. MILLER
                                 Attorney-In-Charge
                                 International Trade Field Office




                                    5
        Case 1:20-cv-00128-CRK Document 28            Filed 07/30/21     Page 9 of 25



                                     By:   /s/ Aimee Lee
                                           AIMEE LEE
                                           Assistant Director

Of Counsel:                                /s/ Hardeep K. Josan
Paula Smith                                HARDEEP K. JOSAN
Office of Assistant Chief Counsel          Trial Attorney
International Trade Litigation             International Trade Field Office
U.S. Customs and Border Protection         Department of Justice, Civil Division
                                           Commercial Litigation Branch
                                           26 Federal Plaza, Room 346
                                           New York, New York 10278
                                           (212) 264-9245 or 9230

July 30, 2021                              Attorneys for Defendant




                                              6
          Case 1:20-cv-00128-CRK Document 28                                Filed 07/30/21           Page 10 of 25




                                               TABLE OF CONTENTS


INTRODUCTION.................................................................................................................. 1

BACKGROUND.................................................................................................................... 2

   I.     ASSESSMENT OF ANTIDUMPING DUTIES GENERALLY .................................... 2

  II.     ASSESSMENT OF ANTIDUMPING AND COUNTERVAILING
          DUTIES ON AIREKO’S ENTRIES ............................................................................ 2

QUESTION PRESENTED ..................................................................................................... 4

SUMMARY OF ARGUMENT .............................................................................................. 4

ARGUMENT ......................................................................................................................... 5

   I.     STANDARD OF REVIEW ......................................................................................... 5

  II.     AIREKO’S ENTRIES WERE SUBJECT TO
          ANTIDUMPING DUTIES .......................................................................................... 6

III.      AIREKO’S ENTRIES WERE NOT SUBJECT TO
          COUNTERVAILING DUTIES ................................................................................... 8

IV.       AIREKO IS WRONG THAT SUNPOWER GOVERNS THIS CASE .......................... 9

CONCLUSION .....................................................................................................................10




                                                                  i
          Case 1:20-cv-00128-CRK Document 28                                 Filed 07/30/21            Page 11 of 25




                                             TABLE OF AUTHORITIES


Cases

Adickes v. S.H. Kress & Co.,
398 U.S. 144 (1970) ............................................................................................................... 6

Celotex Corp. v. Catrett,
477 U.S. 317 (1986) ............................................................................................................5, 6

Cemex, S.A. v. United States,
384 F.3d 1314 (Fed. Cir. 2004) ............................................................................................... 7

Matsushita Elecs. Indus. Co. v. Zenith Radio Corp.,
475 U.S. 574 (1986) ............................................................................................................... 6

Mitsubishi Elecs. Am., Inc. v. United States,
44 F.3d 973 (Fed. Cir. 1993) ................................................................................................2, 6

Novosteel SA v. United States,
284 F.3d 1261 (Fed. Cir. 2002) ..............................................................................................10

SmithKline Beecham Corp. v. Apotex Corp.,
439 F.3d 1312 (Fed. Cir. 2006) ..............................................................................................10

SunPower Corp. v. United States,
253 F. Supp. 3d 1275 (Ct. Int’l Trade 2017) ....................................................................... 9, 10

Trumpf Med. Sys., Inc. v. United States,
753 F. Supp. 2d 1297 (Ct. Int’l Trade 2010) ............................................................................ 5

Ugine & Alz Belg. v. United States,
551 F.3d 1339 (Fed. Cir. 2009) ............................................................................................... 6

United States v. Great American Ins. Co.,
738 F.3d 1320 (Fed. Cir. 2013) ............................................................................................... 9

Xerox Corp. v. United States,
289 F.3d 792 (Fed. Cir. 2002) ................................................................................................. 7


Statutes

19 U.S.C. § 1514(a) ................................................................................................................ 6


                                                                  ii
          Case 1:20-cv-00128-CRK Document 28                                  Filed 07/30/21            Page 12 of 25



19 U.S.C. § 1514(a)(2)............................................................................................................ 6
19 U.S.C. § 1514(a)(5)............................................................................................................ 6

28 U.S.C. § 1581(a) ................................................................................................................ 6

28 U.S.C. § 2640(a)(1)............................................................................................................ 5


Regulations

19 C.F.R. § 141.68(a)(2) ......................................................................................................... 3
19 C.F.R. § 351.211................................................................................................................ 2


Rules

USCIT R. 56 .......................................................................................................................... 5

USCIT R.56 (a) ..................................................................................................................... 5

USCIT R.56 (c) (2) ................................................................................................................. 6

USCIT R.56.3 (c) ................................................................................................................... 6


Other Authorities

Certain Crystalline Silicon Photovoltaic Products From the People's Republic of
China and Taiwan: Initiation of Antidumping Duty Investigations
79 Fed. Reg. 33, 174 (June 10, 2014) ...................................................................................... 3

Certain Crystalline Silicon Photoovoltaic Products From
the People's Republic of China: Affirmative Preliminary Determination of Sales
at Less Than Fair Value abd Postponement of Final Determination
79 Fed. Reg. 44,399 (July 31, 2014) ........................................................................................ 3

Certain Crystalline Silicon Photovoltaic Products From the People's
Republic of China: Final Determination of Sales at Less Than Fair Value
79 Fed. Reg. 76, 970 (December 23, 2014) ............................................................................. 3

Certain Crystalline Silicon Photovoltaic Products From the People's
Republic of China and Taiwan: Initiation of Antidumping Duty Investigations
79 Fed. Reg. 4661 (January 29, 2014) ..................................................................................... 2

Certain Crystalline Silicon Photovoltaic Products From the People's Republic
of China and Taiwan: Initiation of Countervailing Duty Investigations
79 Fed. Reg. 4667 (January 29, 2014) ..................................................................................... 3

                                                                   iii
         Case 1:20-cv-00128-CRK Document 28                           Filed 07/30/21         Page 13 of 25




Certain Crystalline Silicon Photovoltaic Products From the People's Republic
of China: Antidumping Duty Order; and Amended Final Affirmative
Countervailing Duty Determination and Countervailing Duty Order
80 Fed. Reg. 8592 (February 18, 2015) ................................................................................4, 5

Countervailing Duty Investigation of Certain Crystalline Silicon Photovoltaic
From the People's Republic of China: Final Affirmative Countervailing Duty Determination
79 Fed. Reg. 76, 962 (December 23, 2014) .............................................................................. 4




                                                            iv
          Case 1:20-cv-00128-CRK Document 28              Filed 07/30/21     Page 14 of 25



UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: THE HONORABLE CLAIRE R. KELLY, JUDGE
__________________________________________
AIREKO CONSTRUCTION LLC,                   :
                                           :
                                           :
                        Plaintiff,         : Court No. 20-00128
                                           :
                  v.                       :
                                           :
UNITED STATES,                             :
                                           :
                        Defendant.         :
__________________________________________ :

    DEFENDANT’S MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFF’S
      MOTION FOR SUMMARY JUDGMENT IN PART, AND IN SUPPORT OF
     DEFENDANT’S CROSS-MOTION FOR PARTIAL SUMMARY JUDGMENT

          Defendant, the United States (Government), respectfully submits this memorandum of

law in opposition to the motion for summary judgment filed by plaintiff, Aireko Construction

LLC (Aireko), and in support of our cross-motion for partial summary judgment, pursuant to

Rule 56 of the Rules of the United States Court of International Trade (USCIT). For the reasons

set forth below, we respectfully request that the Court enter an Order: (1) denying Aireko’s

motion for summary judgment in part; (2) granting our cross-motion for partial summary

judgment, and finding that the merchandise at issue was subject to antidumping duties; (3)

instructing U.S. Customs and Border Protection to reliquidate the entries at issue at an

antidumping duty rate of 42.33% and a countervailing duty rate of 0.00%; and (4) dismissing this

action.

                                         INTRODUCTION

          This case involves three entries of crystalline silicon photovoltaic products (CSPV) from

the People’s Republic of China (PRC or China), which were subject to antidumping duty and

countervailing duty orders. At liquidation, U.S. Customs and Border Protection (CBP or
       Case 1:20-cv-00128-CRK Document 28                Filed 07/30/21       Page 15 of 25



Customs) assessed antidumping and countervailing duties at rates of 52.13% and 26.89%,

respectively. Aireko filed a timely protest, which CBP subsequently denied. Aireko claims that

CBP improperly assessed antidumping and countervailing duties to the entries at issue and that

the entries should have liquidated without regard to such duties. As we demonstrate below, the

merchandise at issue was subject to antidumping duties, although at a lower rate than that

assessed by CBP. Further, for reasons other than those alleged by plaintiff, we agree that

countervailing duties should not have been assessed on plaintiff’s entries.

                                        BACKGROUND

I.     ASSESSMENT OF ANTIDUMPING DUTIES GENERALLY

       After the U.S. Department of Commerce (Commerce) issues an antidumping or

countervailing duty order, upon importation of merchandise covered by the order importers must

make a cash deposit of estimated duties based upon the rates calculated in the investigation. See

19 C.F.R. § 351.211. After importation, liquidation is suspended for all entries subject to an

antidumping or countervailing duty order until Commerce concludes its administrative review, if

any. Then, Commerce instructs CBP to assess antidumping or countervailing duties on the

merchandise through liquidation instructions. In its ministerial role, CBP merely follows

Commerce’s instructions when assessing antidumping or countervailing duties. See Mitsubishi

Elecs. Am., Inc. v. United States, 44 F.3d 973, 977 (Fed. Cir. 1993).

II.    ASSESSMENT OF ANTIDUMPING AND COUNTERVAILING DUTIES ON
       AIREKO’S ENTRIES

       As is relevant here, in January 2014, Commerce published the notice of initiation of

antidumping and countervailing duty investigations on certain CSPV products from the PRC.

Certain Crystalline Silicon Photovoltaic Products From the People’s Republic of China and

Taiwan: Initiation of Antidumping Duty Investigations, 79 Fed. Reg. 4661 (January 29, 2014);


                                                 2
       Case 1:20-cv-00128-CRK Document 28                Filed 07/30/21     Page 16 of 25



Certain Crystalline Silicon Photovoltaic Products From the People’s Republic of China and

Taiwan: Initiation of Countervailing Duty Investigations, 79 Fed. Reg. 4667 (January 29, 2014).

       In June 2014 and July 2014, respectively, Commerce published the preliminary

determinations of the countervailing and antidumping duty investigations on certain CSPV from

the PRC. Certain Crystalline Silicon Photovoltaic Products From the People’s Republic of

China: Preliminary Affirmative Countervailing Duty, 79 Fed. Reg. 33,174 (June 10, 2014);

Certain Crystalline Silicon Photovoltaic Products From the People’s Republic of China:

Affirmative Preliminary Determination of Sales at Less Than Fair Value and Postponement of

Final Determination, 79 Fed. Reg. 44,399 (July 31, 2014). Commerce also instructed CBP to

suspend liquidation of all entries of certain CSPV from the PRC, and to require a cash deposit for

such entries. Message No. 4163305 (June 12, 2014); Message Nos. 4220303 (August 8, 2014),

4307307 (November 3, 2014), Ex. A.

       In December 2014, Aireko imported CSPV from the PRC, exported by Wanxiang Import

& Export Co. Ltd. and produced by Zhejiang Wanxiang Solar Co. Ltd., through the Port of San

Juan, Puerto Rico. See Compl. ¶ 2; Ans. ¶ 2; Dkt. Nos. 11, 16. For the entries at issue, Aireko

selected entry dates of December 19, 2014 and December 22, 2014 on its CBP Form 3461. 1

Compl. ¶¶ 20-22; Ans. ¶¶ 20-22.

       On December 23, 2014, Commerce published the final determinations of the antidumping

and countervailing duty investigations. Certain Crystalline Silicon Photovoltaic Products From

the People’s Republic of China: Final Determination of Sales at Less Than Fair Value, 79 Fed.



1 Aireko legally elected entry dates prior to December 23, 2014, pursuant to 19 C.F.R. §
141.68(a)(2), for the three entries at issue. Specifically, (i) Aireko properly indicated elected
entry dates on its CBP Form 3461s, (ii) the merchandise had already arrived within the port
limits, and (iii) CBP received sufficient documentation for Aireko to elect the filing date of the
entry documentation as the date of entry (rather than the date the merchandise was released).
                                                 3
       Case 1:20-cv-00128-CRK Document 28                Filed 07/30/21    Page 17 of 25



Reg. 76,970 (December 23, 2014); Countervailing Duty Investigation of Certain Crystalline

Silicon Photovoltaic Products From the People’s Republic of China: Final Affirmative

Countervailing Duty Determination, 79 Fed. Reg. 76,962 (December 23, 2014). In February

2015, Commerce published the antidumping and countervailing duty orders on certain CSPV

from the PRC. See 80 Fed. Reg. 8592 (February 18, 2015).

       On May 2, 2016 and May 13, 2016, respectively, Commerce issued antidumping and

countervailing duty liquidation instructions to CBP covering the entries at issue. See Message

Nos. 6123301 (May 2, 2016), 6134013 (May 13, 2016), Ex. B. Regarding the antidumping duty

order, Commerce instructed CBP, in relevant part, to liquidate entries of CSPV from the PRC for

the period of July 31, 2014 through January 25, 2015 at the cash deposit rate in effect on the date

of entry, which was 42.33%. See Message Nos. 4307307, 6123301, Exs. A, B. Regarding the

countervailing duty order, Commerce instructed CBP, in relevant part, to liquidate entries of

CSPV from the PRC for the period October 18, 2014 through February 9, 2015 without regard to

countervailing duties. See Message No. 6134304, Ex. B.

       On September 2, 2016, CBP liquidated the entries at issue at an antidumping duty rate of

52.13% and a countervailing duty rate of 26.89%. Aireko protested that assessment, arguing that

the entries were not subject to antidumping and countervailing duties. CBP denied Aireko’s

protest on June 11, 2020. Dkt. Nos. 11, 16.

                                   QUESTION PRESENTED

       Whether CBP properly assessed antidumping and countervailing duties in accordance

with Commerce’s liquidation instructions.

                                SUMMARY OF ARGUMENT

       Aireko’s merchandise was properly subject to antidumping duties pursuant to



                                                 4
       Case 1:20-cv-00128-CRK Document 28                Filed 07/30/21     Page 18 of 25



Commerce’s liquidation instructions issued in connection with the antidumping duty order on

certain CSPV from the PRC. See 80 Fed. Reg. 8592 (February 18, 2015). In its liquidation

instructions, Commerce instructed CBP to liquidate the entries subject to this case at the

antidumping duty cash deposit rate required at entry. Although CBP assessed an incorrect

antidumping duty rate (52.13% instead of 42.33%), Aireko is incorrect that the entries should

have been liquidated without antidumping duties. Accordingly, there is no merit to Aireko’s

claim that no antidumping duties were required for entries prior to December 23, 2014.

However, with regard to the assessment of countervailing duties, we agree that no countervailing

duties should have been assessed on Aireko’s entries because Commerce instructed CBP to

liquidate entries during the relevant time period (December 2014) without countervailing duties.

Accordingly, we move for partial summary judgment as antidumping duties are correctly

assessed on plaintiff’s entries at 42.33% and therefore plaintiff’s motion for summary judgment

should be denied, in part, with respect to antidumping duties. Further, plaintiff’s motion for

summary judgment should be granted, in part, with respect to countervailing duties which should

not have been assessed on the entries at issue.

                                          ARGUMENT

I.     STANDARD OF REVIEW

       The Court reviews de novo a civil action contesting the denial of a protest on the basis of

the record made before the Court. See 28 U.S.C. § 2640(a)(1). Under USCIT R. 56, summary

judgment is appropriate “if the movant shows that there is no genuine dispute as to any material

fact and the movant is entitled to judgment as a matter of law.” USCIT R. 56(a); see also

Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). A fact is material only if it might affect the

outcome of an action. See Trumpf Med. Sys., Inc. v. United States, 753 F. Supp. 2d 1297, 1305



                                                  5
       Case 1:20-cv-00128-CRK Document 28                Filed 07/30/21      Page 19 of 25



(Ct. Int’l Trade 2010). In determining whether a genuine issue of fact exists, a court reviews the

evidence submitted drawing all inferences against the moving party. See Matsushita Elecs.

Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). The movant bears the burden of

demonstrating that there exists no genuine issue of material fact that would warrant a trial. See,

e.g., Adickes v. S.H. Kress & Co., 398 U.S. 144, 157 (1970). The movant may satisfy this burden

by noting that the party who will bear the ultimate burden of proof at trial cannot support an

essential element of its claim. See, e.g., Celotex, 477 U.S. at 322-23. Further, the evidence used

to support or dispute an assumed fact must be admissible. USCIT R. 56(c)(2) and R. 56.3(c).

Here, the undisputed evidence supports partial summary judgment for the Government.

II.    AIRKEO’S ENTRIES WERE SUBJECT TO ANTIDUMPING DUTIES

       Plaintiff filed this action under 28 U.S.C. § 1581(a) after denial of a protest contesting

CBP’s assessment of countervailing and antidumping duties. In the antidumping and

countervailing duty context, CBP’s role is ministerial, and in that role, CBP is required to apply

Commerce’s instructions precisely. Mitsubishi, 44 F.3d at 977 (CBP merely follows

Commerce’s instructions in assessing and collecting duties and it cannot modify Commerce’s

determinations, their underlying facts or their enforcement); Ugine & Alz Belg. v. United States,

551 F.3d 1339, 1343 (Fed. Cir. 2009) (Customs performs a ministerial function in executing

liquidation instructions). As stated plainly by the Federal Circuit in Mitsubishi, “Customs does

not determine the ‘rate and amount’ of antidumping duties under 19 U.S.C. § 1514(a)(2) . . . and

has a merely ministerial role in liquidating antidumping duties under 19 U.S.C. § 1514(a)(5).”

Mitsubishi, 44 F.3d at 977. Indeed, “title 19 makes clear that Customs does not make any

section 1514 antidumping ‘decisions’ . . . [and its] actions regarding dumping do not fall within

19 U.S.C. § 1514(a).” Id. at 977.



                                                 6
       Case 1:20-cv-00128-CRK Document 28                 Filed 07/30/21     Page 20 of 25



       Decisions made by CBP that relate to antidumping duties and that may properly be the

subject of a protest are limited to the assessment of facts surrounding importations and the

application of liquidation instructions to particular entries. See Cemex, S.A. v. United States, 384

F.3d 1314, 1324 (Fed. Cir. 2004) (although CBP’s role in antidumping matters is generally

ministerial, CBP made a decision regarding liquidation that is protestable); Xerox Corp. v.

United States, 289 F.3d 792, 794 (Fed. Cir. 2002) (CBP makes factual findings related to

merchandise subject to an antidumping duty order).

        Here, CBP properly assessed antidumping duties on Aireko’s entries pursuant to

Commerce’s liquidation instructions, albeit at an incorrect rate. Commerce instructed CBP to

“liquidate all entries for all firms except those listed in paragraph 3 and assess antidumping

duties on merchandise entered, or withdrawn from warehouse, for consumption at the cash

deposit or bonding rate in effect at the time of entry.” Message No. 6123301 at ¶ 2, Ex. B. The

message was titled “Automatic liquidation instructions for certain crystalline silicon photovoltaic

products from the PRC for the [] periods 7/31/2014 through 1/26/2015 and 2/10/2015 through

1/31/2015 (A-570-010).” Id. The subject entries fall within the time period addressed by this

message because the entry dates for Aireko’s entries were December 19, 2014 and December 22,

2014. Neither the exporter (Wanxiang Import & Export Co. Ltd.) nor producer (Zhejiang

Wanxiang Solar Co. Ltd.) for Aireko’s entries appears on the list of firms exempted from

liquidation. See Message No. 6123301, Ex. B; see also Dkt. No. 16. Thus, the applicable

antidumping duty rate was the cash deposit rate that was in effect at the time of entry, which, as

explained next, was 42.33%.

       Following publication of the preliminary antidumping duty determination, Commerce

instructed CBP to suspend the liquidation of and to collect cash deposits for entries covered by



                                                  7
       Case 1:20-cv-00128-CRK Document 28               Filed 07/30/21     Page 21 of 25



the scope in the preliminary determination and that entered the United States on or after October

8, 2014. Relevant here, Commerce instructed CBP to collect an antidumping duty cash deposit

rate of 42.33% for entries exported by Wanxiang Import & Export Co. Ltd. and produced by

Zhejiang Wanxiang Solar Co. Ltd. Message No. 4307307 at ¶ 3. Accordingly, at the time of

entry (December 19 and December 22, 2014), Aireko’s merchandise was subject to a cash

deposit rate of 42.33%. Although CBP erred in assessing a rate of 53.13% at liquidation, Aireko

is incorrect that the entries should have been liquidated without regard to any antidumping

duties. Thus, the Court should grant defendant’s partial summary judgment motion finding that

antidumping duties were correctly assessed, and instruct CBP to reliquidate the entries at the

correct antidumping duty rate of 42.33%.

III.   AIREKO’S ENTRIES WERE NOT SUBJECT TO COUNTERVAILING DUTIES

       Aireko also contends that its entries should not have been assessed countervailing duties.

Aireko’s entries were not subject to countervailing duties because Commerce instructed CBP to

liquidate the entries at issue without regard to such duties. Specifically, pursuant to Message No.

6134304, Commerce instructed that merchandise “entered or withdrawn from warehouse on or

after 10/08/2014 and on or before 02/09/2015 should be liquidated without regard to

countervailing duties.” Message No. 6134304 at ¶ 5. Because Aireko’s subject merchandise

was entered in December 2014, the entries fall within the referenced period and therefore

countervailing duties should not have been assessed at liquidation. Thus, the Court should allow

partial summary judgment in Aireko’s favor regarding countervailing duties and Aireko’s entries

should be reliquidated at a 0.00% countervailing duty rate




                                                8
       Case 1:20-cv-00128-CRK Document 28                Filed 07/30/21      Page 22 of 25



IV.    AIREKO IS WRONG THAT SUNPOWER GOVERNS THIS CASE

       In support of its summary judgment motion, Aireko asserts, without explanation, that the

outcome here is governed by the Court’s decision in SunPower Corp. v. United States, 253 F.

Supp. 3d 1275 (Ct. Int’l Trade 2017). Pl. Br. at 4. Aireko simply block quotes the decision and

neglects to discuss the relevance of the case to the facts here, leaving the Court and the

Government to attempt to decipher its argument. Id. at 4-6.

       Although not entirely clear, relying on SunPower, Aireko appears to argue that

antidumping and countervailing duties could only apply to entries made on or after December

23, 2014 – the date of Commerce’s final determinations. Id. Because its merchandise entered

prior to that date (i.e., December 19 and 22, 2014), Aireko appears to claim that CBP erred in

retroactively assessing antidumping and countervailing duties to the entries at issue. Id. Aireko

is incorrect. As discussed above, in its ministerial role, CBP merely followed Commerce’s

liquidation instructions, which instructed CBP to assess antidumping duties on the entries at

issue. Indeed, Aireko does not claim that CBP improperly applied the liquidation instructions.

       Furthermore, contrary to Aireko’s assertion, the Court in SunPower did not hold that

there could be no assessment of antidumping and countervailing duties for entries made before

December 23, 2014. SunPower, 253 F. Supp. 3d 1275. In the quoted passage, the Court merely

noted that the scope of the final determinations of the antidumping and countervailing duty

investigations, which clarified the scope of the preliminary determinations, applied to entries on

or after December 23, 2014. Id. at 1293. To the extent Aireko believes that its merchandise is

not subject to the preliminary determinations, Aireko has failed to make such a claim, and

therefore has waived any such argument. See, e.g., United States v. Great American Ins. Co.,

738 F.3d 1320, 1328 (Fed. Cir. 2013) (stating that “[i]t is well established that arguments that are



                                                 9
          Case 1:20-cv-00128-CRK Document 28              Filed 07/30/21     Page 23 of 25



not appropriately developed in a party’s briefing may be deemed waived” (citations omitted.));

SmithKline Beecham Corp. v. Apotex Corp., 439 F.3d 1312, 1319-20 (Fed. Cir. 2006)

(explaining, inter alia, that “[the] law is well established that arguments not raised in the opening

brief are waived” (citation omitted.)); Novosteel SA v. United States, 284 F.3d 1261, 1273-74

(Fed. Cir. 2002) (holding that argument raised for the first time in reply brief was waived).

Thus, Aireko’s reliance on SunPower is unavailing and antidumping duties properly applied to

Aireko’s entries.

                                          CONCLUSION

          For the foregoing reasons, this Court should deny plaintiff’s motion for summary

judgment in part, enter summary judgment for defendant United States in part, and dismiss this

action.




                                               Respectfully submitted,


                                               BRIAN M. BOYNTON
                                               Acting Assistant Attorney General

                                               JEANNE E. DAVIDSON
                                               Director

                                               JUSTIN R. MILLER
                                               Attorney-In-Charge
                                               International Trade Field Office




                                                 10
       Case 1:20-cv-00128-CRK Document 28            Filed 07/30/21     Page 24 of 25



                                     By:   /s/ Aimee Lee
                                           AIMEE LEE
                                           Assistant Director

Of Counsel:                                /s/ Hardeep K. Josan
Paula Smith                                HARDEEP K. JOSAN
Office of Assistant Chief Counsel          Trial Attorney
International Trade Litigation             International Trade Field Office
U.S. Customs and Border Protection         Department of Justice, Civil Division
                                           Commercial Litigation Branch
                                           26 Federal Plaza, Room 346
                                           New York, New York 10278
                                           (212) 264-9245 or 9230

July 30, 2021                              Attorneys for Defendant




                                             11
       Case 1:20-cv-00128-CRK Document 28                Filed 07/30/21     Page 25 of 25



UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: THE HONORABLE CLAIRE R. KELLY, JUDGE
__________________________________________
AIREKO CONSTRUCTION LLC,                   :
                                           :
                                           :
                        Plaintiff,         : Court No. 20-00128
                                           :
                  v.                       :
                                           :
UNITED STATES,                             :
                                           :
                        Defendant.         :
__________________________________________ :

                  CERTIFICATE OF COMPLIANCE PURSUANT TO USCIT
                       STANDARD CHAMBER PROCEDURE 2(B)

       I, Hardeep K. Josan, trial counsel in the Office of the Assistant Attorney General, Civil

Division, Commercial Litigation Branch, International Trade Field Office, who is responsible for

the foregoing brief, relying upon the Microsoft Word word count feature of the word processing

program used to prepare the brief, certify that this brief complies with the type-volume limitation

under USCIT Standard Chamber Procedure 2(B) and contains 2,729 words.



                                              /s/ Hardeep K. Josan
